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IN THE UNITED STATES I)ISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

Civil Action No.: 0210-cV-60093-Lenard-Turnoff

JRT Cornpany Corp.,
a Florz`a'a corporation,

Plaintif}f
V.

Polyrner Solutions International, Inc.,
a New Jersey Corporation,

Defendanf.

 

STIPULATION OF DISMISSAL

 

AND NOW, this day of , 2011, the parties

 

having entered into a Settlement Agreernent, it is hereby ORDERED, subject to the

provisions of the aforesaid Settlenient Agreenient, that

l. all claims, counterclaims and defenses are dismissed With prejudice; and
2. each party shall bear its own costs and attorney’s fees.

 

DONE AND ORDERED this day of , 2011.

 

UNITED STATES DISTRICT IUDGE

 

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SO STIPULATED:

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